Case 4:20-cv-00447-ALM Document 148-1 Filed 02/08/24 Page 1 of 11 PageID #: 5101




                              UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION


  BRIAN HUDDLESTON,

                        Plaintiff,

         v.                                                     CIVIL ACTION No. 4:20CV00447

  FEDERAL BUREAU OF
  INVESTIGATION and UNITED
  STATES DEPARTMENT OF JUSTICE,

                         Defendants.

                     EIGHTH DECLARATION OF MICHAEL G. SEIDEL

         I, Michael G. Seidel, declare as follows:

         1.      I am the Section Chief of the Record/Information Dissemination Section (RIDS),

  Information Management Division (IMD), Federal Bureau oflnvestigation (FBI), Winchester,

  Virginia. My previous declarations in this matter describe my employment history,

  responsibilities at the FBI, as well as the FBI's processing of the Freedom oflnformation Act

  (FOIA) requests at issue in this case. This is my eighth declaration overall in this instant action

  and it supplements and incorporates by reference the information previously provided by me in

  my prior declarations dated December 8, 2020 (First Seidel), dated January 6, 2021 (Second

  Seidel), dated April 20, 2021 (Third Seidel), dated December 15, 2021 (Fourth Seidel), dated

  April 29, 2022 (Fifth Declaration), dated December 9, 2022 (Sixth Declaration), dated January

  20, 2023 (Seventh Declaration). (ECF Nos.10-1, 12-1, 23-1, 39-1, 54-1, 84-1 and 95-1.)

         2.      The FBI submits this declaration in further support of Defendants' Motion for

  Summary Judgment Regarding FOIA Exemption 7(A). Part I provides the justification for the

  Exemption 7 threshold and describes how the material at issue was collected for law enforcement


                                                     1
Case 4:20-cv-00447-ALM Document 148-1 Filed 02/08/24 Page 2 of 11 PageID #: 5102




  purposes. Part II provides the FBI's justification for categorically denying a CD containing

  images of Seth Rich's personal laptop, hereinafter referred to as "Personal Laptop", and Seth

  Rich's work laptop, a DVD, and a tape drive, collectively referred to as the "Work Laptop"

  pursuant to FOIA Exemption 7(A), 5 U.S.C. § 552(b)(7)(A) 1 in relation to the United States

  Attorney's Office, District of Columbia (USAO-DC) investigation of the homicide of Seth Rich.

  Part III provides the FBI's justification for categorically denying the Work Laptop pursuant to

  FOIA Exemption 7(A), 5 U.S.C. § 552(b)(7)(A)2 in relation to the FBI's investigations derived

  from the Special Counsel's Office. Part IV reserves the FBI's right to invoke other FOIA

  Exemptions to protect from disclosure responsive material contained on the Personal and Work

  Laptops, including Exemptions 3, 4, 6, 7(C), 7(D), 7(E), and 7(F), should the Court reject FBI's

  invocation of Exemption 7(A).

           PART I: JUSTIFICATION FOR NONDISCLOSURE UNDER THE FOIA
                            EXEMPTION 7 THRESHOLD

         3.      Before an agency can invoke any of the harms enumerated in Exemption (b)(7), it

  must demonstrate the records or information at issue was compiled for law enforcement

  purposes. Pursuant to 28 U.S.C. §§ 533 and 534, Executive Order 12333 as implemented by the

  Attorney General's Guidelines for Domestic FBI Operations (AGG-DOM), and

  28 C.F.R. § 0.85, the FBI is the primary investigative agency of the federal government with

  authority and responsibility to investigate all violations of federal law not exclusively assigned to

  another agency, to conduct investigations and activities to protect the United States and its


  1
   The FBI preserves its ability to invoke other exemptions - i.e., FOIA Exemptions 3, 4, 6, 7(C),
  7(D), 7(E) and 7(F) to protect exempt information should Exemption 7(A) expire. See
  5 U.S.C. §§ 552(b)(3), (b)(4), (b)(6), (b)(7)(C), (b)(7)(D), (b)(7)(E), and (b)(7)(F).
  2
   The FBI preserves its ability to invoke other exemptions -i.e., FOIA Exemptions 3, 4, 6, 7(C),
  7(D), 7(E) and 7(F) to protect exempt infom1ation should Exemption 7(A) expire. See
  5 U.S.C. §§ 552(b)(3), (b)(4), (b)(6), (b)(7)(C), (b)(7)(D), (b)(7)(E), and (b)(7)(F).
                                                   2
Case 4:20-cv-00447-ALM Document 148-1 Filed 02/08/24 Page 3 of 11 PageID #: 5103




  people from terrorism and threats to the national security, and to further the foreign intelligence

  objectives of the United States. Under this investigative authority, both the Personal Laptop and

  Work Laptops were collected for the following law enforcement purpose.

         4.      The Personal Laptop was collected in furtherance of the FBI's role in the Special

  Counsel's Office (SCO) investigation and related investigations. The Work Laptop was also

  collected in furtherance of the FBI's role in investigations derived from the Special Counsel's

  Office. These materials were collected to document the FBI's investigation of potential crimes

  and threats to the national security; thus, the FBI determined they were compiled for law

  enforcement purposes. 3

                        PART II: EXEMPTION 7(A)
        PENDING LAW ENFORCEMENT PROCEEDINGS: USAO-DC HOMICIDE
                           INVESTIGATION
         5.      FOIA Exemption 7(A) exempts from disclosure records or information compiled

  for law enforcement purposes, but only to the extent that the production of such law enforcement

  records or information ... could reasonably be expected to interfere with enforcement

  proceedings. 5 U.S.C. § 552 (b)(7)(A).

         6.      Application of this exemption requires: the existence oflaw enforcement records

  or information; a pending or prospective law enforcement proceeding; and a determination that

  release of the information could reasonably be expected to interfere with the enforcement

  proceeding. Often, the FBI asserts Exemption 7(A) categorically to withhold a variety of

  different documents in an investigative file, which the FBI then groups into functional categories

  and describes in greater detail. In this case the FBI is categorically asserting Exemption 7(A) to



   Both DOJ and the FBI are responsible for maintaining portions of the SCO evidence collection,
   3


  with FBI retaining the investigative materials.


                                                   3
Case 4:20-cv-00447-ALM Document 148-1 Filed 02/08/24 Page 4 of 11 PageID #: 5104




  protect the Personal Laptop and the Work Laptop of Seth Rich, which pertain to a pending law

  enforcement investigation related to the USAO-DC homicide investigation. The release of this

  information would reveal details concerning the pending enforcement proceedings, to include the

  existence and location of the spin-off investigations. As such, revealing this previously

  undisclosed and information could reasonably be expected to interfere with pending enforcement

  proceedings. Thus, the FBI has applied Exemption 7(A) to protect this information.

                  BACKGROUND ABOUT THE PENDING ENFORCEMENT PROCEEDING

         7.      Seth Rich was shot and killed on July 10, 2016, in the 2100 block of Flagler

  Place, N.W., Washington, D.C. Mr. Rich died by gunshot during what is believed to be a botched

  robbery in the early morning hours of July 10, 2016. At the time, Mr. Rich was walking alone to

  his home in D.C.

         8.      The D.C. Metropolitan Police Department (MPD) has jurisdiction over homicides

  in the District of Columbia and immediately began to investigate the homicide of Mr. Rich, as

  the lead law enforcement agency. The United States Attorney's Office in the District of

  Columbia (USAO-DC) opened an investigation which was assigned to an Assistant United States

  Attorney (AUSA) in the USAO-DC Homicide Section.

         9.      When the FBI became aware that the USAO-DC and MPD had an open

  inve~tigation into the death of Seth Rich, the FBI notified the Court via an in camera, ex parte

  filing of this new information. Since receiving notification of the pending investigation, the FBI

  has been in communication with the AUSA and confirmed that the investigation remains active

  and continues to be handled by the USAO-DC, who serves as the local law enforcement

  prosecutor in the District of Columbia.

          10.    The AUSA handling this homicide investigation on behalf of the USAO-DC has

  advised the FBI that both the Personal Laptop and the Work Laptop are of interest in the ongoing

                                                   4
Case 4:20-cv-00447-ALM Document 148-1 Filed 02/08/24 Page 5 of 11 PageID #: 5105




  homicide investigation. As with other items of evidence in the USAO-DC and MPD

  investigation, any computer that was possessed or used by Seth Rich at the time of his death,

  whether for personal or employment-related reasons, is important to the investigation for what it

  contains and for what it does not contain. Any public release of the contents of such computers

  would have a significant and negative impact on the investigation being handled by the USAO-

  DC and on the future prosecutions of any suspects.

                            REASONABLE EXPECTATION OF INTERFERENCE

         11.     Prematurely disclosing any of the information concerning this investigation, to

  include the contents of any device containing images or data of any kind from any computer that

  was possessed or used by Seth Rich at the time of his death would reasonably be expected to

  interfere with the pending law enforcement matter. The FBI reasonably expects that disclosure of

  the contents of the Personal Laptop and Work Laptop would cause interference and harm to the

  pending investigation because it would provide criminals with information about the USAO-DC's

  investigation/enforcement strategies in an ongoing matter, allow them to predict and potentially

  thwart these strategies, and/or allow them to discover/tamper with or intimidate witnesses and/or

  tamper with or destroy evidence. In this case, this would be possible because disclosure of the

  contents of either laptop would result in targets, witnesses, or subjects of the ongoing investigation

  knowing details about the investigation that would not otherwise be available to them. Specifically,

  given the high-profile nature of this investigation, this could allow potential witnesses or subjects

  to locate specific details related to the ongoing investigation and use this information to influence

  the investigation by altering witness testimony or tampering with or destroying relevant evidence.

  Ultimately, disclosure of the contents of the laptops would reveal the scope and focus of the

  ongoing investigation, and would enable potential targets of the investigation to elude detection or

  to suppress, alter, or fabricate evidence, or would prematurely reveal evidence or strategies in the

                                                    5
Case 4:20-cv-00447-ALM Document 148-1 Filed 02/08/24 Page 6 of 11 PageID #: 5106




  USAO-DC's investigation. Thus, the FBI has properly categorically withheld this information

  pursuant to Exemption 7(A).

                       PART III: EXEMPTION 7(A)
   PENDING LAW ENFORCEMENT PROCEEDINGS: FBI INVESTIGATIONS DERIVED
                  FROM THE SPECIAL COUNSEL'S OFFICE

         12.     FOIA Exemption 7(A) exempts from disclosure records or information compiled

  for law enforcement purposes, but only to the extent that the production of such law enforcement

  records or information ... could reasonably be expected to interfere with enforcement

  proceedings. 5 U.S.C. § 552 (b )(7)(A).

         13.     Application of this exemption requires: the existence of law enforcement

  information; a pending or prospective law enforcement proceeding; and a determination that

  release of the information could reasonably be expected to interfere with the enforcement

  proceeding. Often, the FBI asserts Exemption 7(A) categorically to withhold a variety of

  different documents in an investigative file, which the FBI then groups into functional categories

  and describes in greater detail. In this case the FBI is categorically asserting Exemption 7(A) to

  protect the Work Laptop of Seth Rich, which pertains to pending law enforcement investigations

  related to the FBI investigations derived from the Special Counsel's Office. The release of this

  information would reveal details concerning the pending enforcement proceedings, to include the

  existence and location of the spin-off investigations. The FBI determined release of any of this

  material would reasonably be expected to provide criminals and agents of foreign powers with

  information about the United States government's investigations and enforcement strategies in

  these ongoing matters, which could allow criminals and our national adversaries to predict and

  potentially thwart these strategies, and/or allow them to discover and tamper with witnesses and

  tamper with or destroy evidence. As such, revealing this previously undisclosed and information

  could reasonably be expected to interfere with pending enforcement proceedings. Thus, the FBI

                                                   6
Case 4:20-cv-00447-ALM Document 148-1 Filed 02/08/24 Page 7 of 11 PageID #: 5107




  has applied Exemption 7(A) to protect this information.

                  BACKGROUND ABOUT THE PENDING ENFORCEMENT PROCEEDINGS

         14.      As previously discussed in my Sixth Declaration (ECF No. 84-4, ,r,r 27-30), in or

  around 2016, the Russian Federation (Russia) operated a military intelligence agency now called

  the Main Directorate of the General Staff of the Armed Forces of the Russian Federation, then

  known as the Main Intelligence Directorate, and still commonly known by its abbreviation GRU,

  the Russian abbreviation of "Glavnoye Razvedyvatelnoye Upravlenie," that in short, is the

  foreign military intelligence agency of the General Staff of the Russian Armed Forces. The GRU

  had multiple units, including Units 26165 and 74455, engaged in cyber operations that involved

  the staged releases of documents stolen through computer intrusions. These units conducted

  largescale cyber operations to interfere with the 2016 U.S. presidential election.

         15.      On July 13, 2018, a Grand Jury for the District of Columbia in United States of

  America v. Viktor Borisovich Netyksho, et al., Criminal No. 1:18-cr-00215, returned an

  indictment against 1) Viktor Borisovich Netyksho, 2) Boris Alekseyevich Antonov, 3) Dmitriy

  Sergeyevich Badin, 4) Ivan Sergeyevich Yermakov, 5) Aleksey Viktorovich Lukashev, 6)

  Sergey Aleksandrovich Morgachev, 7) Nikolay Yuryevich Kozachek, 8) Pavel Vyacheslavovich

  Yershov, 9) Artem Andreyevich Malyshev, 10) Aleksandr Vladimirovich Osadchuk, 11)

  Aleksey Aleksandrovich Potemkin, and 12) Anatoliy SergeyevichKovalev, charging them with

  one or more of the following:

               a. 18 U.S.C. §§ 371 and 3559(g)(l) Conspiracy to Commit an Offense or defraud
                  the United States;

               b. 18 U.S.C. §§ l028A(a)(l) and (2) Aggravated Identity Theft; and

               c. 18 U.S.C. § l 956(h) Conspiracy to Launder Money.




                                                   7
Case 4:20-cv-00447-ALM Document 148-1 Filed 02/08/24 Page 8 of 11 PageID #: 5108




           16.      The FBI has confirmed that the above indictment remains pending. In addition to

  the indicted fugitives, there exist additional targets of investigative interest in pending spin-off

  investigations and until the potential and pending proceedings are concluded and resolved in

  those matters, no information contained in the pending investigative file, including the Work

  Laptop of Seth Rich, can be released to Plaintiff without interfering in the pending or prospective

  enforcement proceedings.

                               REASONABLE EXPECTATION OF INTERFERENCE

           17.      Release of any of the information concerning this investigation and the spin-off

  investigations to include the Work Laptop would be premature because the defendants are

  fugitives and there are additional targets of investigative interest in spin-off investigations

  wherein there are potential and/or pending law enforcement proceedings; therefore, the FBI

  has a reasonable expectation that the release of such information would trigger a multitude of

  harms:

                 a. Suspects and persons of interest would know investigative details that would either

  alert them to efforts directed towards them and/or would allow them to analyze pertinent

  information about the scope of the investigations. As a result, these individuals would acquire the

  unique advantage of knowing certain details about or related to them which could be used to their

  advantage to escape prosecution and thwart current investigative efforts by altering or

  counteracting evidence, changing behavior, intimidating or physically harming witnesses or law

   enforcement officials, and/or flight. Similarly, the indicted fugitives related to this ongoing

   investigation could make nefarious use of the Work Laptop to stymie future investigation and evade

  prosecution.

                 b. Once information is released into the public domain, its use and dissemination by



                                                       8
Case 4:20-cv-00447-ALM Document 148-1 Filed 02/08/24 Page 9 of 11 PageID #: 5109




  third parties are unrestricted. As such, release of these investigative details would allow third

  parties who are not directly related to this matter to interfere with investigative efforts or any future

  prosecution(s) through harassment, intimidation, and creation of false evidence by dispensing

  extraneous facts discussed in the investigations. Given that individuals involved in cyber

  operations rarely work alone, the threat posed by such harassment and intimidation is real.

                c. The release of the withheld investigative details could lead to the identification of

  sources of information, witnesses, potential witnesses, law enforcement personnel, and individuals

  otherwise associated with the investigations who could be targeted for intimidation and/or physical

  harm. Additionally, potential witnesses could be discouraged from being forthcoming with the FBI

  should it prematurely disclose evidence related to the ongoing investigation.

          18.      The FBI continues to work with the Department of Justice and federal, state, and

  local law enforcement partners to apprehend the fugitives and, as noted above, is also

  investigating additional targets of investigative interest in spin-off investigations. The

  information contained on the Work Laptop is tied to the investigation and spin-off investigations

  and until either the fugitives are apprehended and the prosecutions concluded concerning them and

  the potential and/or pending prosecutions of additional targets are concluded, release of this

  information could reasonably be expected to interfere with enforcement proceedings. Thus, the

  FBI has properly categorically withheld this information pursuant to Exemption 7(A).

   PART IV: POTENTIAL APPLICABILITY OF OTHER FOIA EXEMPTIONS SHOULD
           THE COURT REJECT FBl's JNVOCATION OF EXEMPTION 7(A)

          19.       While the FBI is relying on FOIA Exemption 7(A) to withhold the Personal

  Laptop and the Work Laptop, other FOIA exemptions may provide additional grounds for

  withholding records and information. Potentially applicable exemptions include Exemptions 3, 4,

  6, 7(C), 7(D), 7(E), and 7(F). See 5 U.S.C. §§ 552(b)(3), (b)(4), (b)(6), (b)(7)(C), (b)(7)(D),


                                                       9
Case 4:20-cv-00447-ALM Document 148-1 Filed 02/08/24 Page 10 of 11 PageID #: 5110



                              '
   (b)(7)(E), (b )(7)(F). For example, both the Personal. Laptop and the Work Laptop likely contain

   personal information, the disclosure of which would constitute a clearly unwarranted invasion of

   personal privacy. Such information would be properly withheld under Exemptions 6 and 7(C).4

   Accordingly, the FBI reserves its right to invoke additional exemptions to protect from

   disclosure responsive material contained on the Personal Laptop and the Work Laptop should the

   Court reject the FBl's invocation of 7(A).

                                            CONCLUSION

          20.     The FBI has determined that the Personal Laptop and the Work Laptop are

   exempt from disclosure under Exemption 7(A) because disclosure of any information from the

   laptops could reasonably be expected to interfere with ongoing investigations as well as pending

   and prospective prosecutions. While the FBI is relying on Exemption 7(A) to withhold this

   information, the FBI also determined that other FOIA exemptions may apply to information

   contained on the Personal Laptop and the Work Laptop, see 5 U.S.C. §§ 552(b)(3), (b)(4), (b)(6),

   (b)(7)(C), (b)(7)(D), (b)(7)(E), (b)(7)(F), and specifically reserves the right to invoke these other

   exemptions. Having applied Exemption 7(A) to the Personal Laptop and the Work Laptop the

   FBI determined that there is no non-exempt information that can be reasonably segregated from

   exempt information and released to Plaintiff at this time.




   4The FBI does not anticipate that Exemption 7(A) will expire in the foreseeable future, given the
   investigations discussed in ,i,i 5-18, supra, is active and pending.
Case 4:20-cv-00447-ALM Document 148-1 Filed 02/08/24 Page 11 of 11 PageID #: 5111




          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

   and correct.

          Executed this    £  t           ebruary 2024.




                                                Section Chief
                                                Record/Information Dissemination Section
                                                Information Management Division
                                                Federal Bureau of Investigation
                                                Winchester, Virginia




                                                   11
